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                                                      NOT PRECEDENTIAL

              UNITED STATES COURT OF APPEALS
                   FOR THE THIRD CIRCUIT
                        _____________

                       Nos. 22-2968, 22-3041
                         _____________

                  UNITED STATES OF AMERICA

                                  v.

                       JOSE REYES OCHOA,
                              Appellant in No. 22-2968

                  UNITED STATES OF AMERICA

                                  v.

                  EDUARDO CASTELON-PRADO,
           also known as EDUARDO CASTELANPARDO,
                             Appellant in No. 22-3041

                           _____________

            On Appeal from the United States District Court
                for the Eastern District of Pennsylvania
      (D.C. Criminal Nos. 2-21-cr-00274-001, 2-21-cr-00274-002)
             District Judge: Honorable Harvey Bartle, III
                            _____________

          Submitted Pursuant to Third Circuit L.A.R. 34.1(a)
                           April 8, 2024
                          _____________

Before: CHAGARES, Chief Judge, PORTER and SCIRICA, Circuit Judges

                       (Filed: June 20, 2024)
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                                         OPINION*
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CHAGARES, Chief Judge.

       A jury convicted Eduardo Castelon-Prado and Jose Reyes Ochoa of kidnapping

and conspiracy to commit kidnapping. Both defendants appeal their judgments of

conviction and sentence. For the following reasons, we will affirm.

                                             I.

       We write primarily for the parties and recite only the facts essential to our

decision. Castelon-Prado, Ochoa, and a third co-conspirator named Rodrigo Rodriguez

Gonzalez kidnapped 17-year-old J.S. at night in the parking lot of an Olive Garden

restaurant in Philadelphia. The kidnapping was the culmination of a months-long effort

by the defendants to surveil J.S., his father, and the Philadelphia home where they lived.

       J.S. was working the evening shift at Olive Garden on June 14, 2021.

Unbeknownst to him, the defendants had been watching him earlier that afternoon and

followed him by car from his home to the parking lot of Olive Garden. While J.S.

worked, the defendants had dinner at an Applebee’s restaurant across the street and then

waited in their car for J.S. to come out.

       J.S. went to the parking lot at around 8:30 p.m. to put his tip money in his car.

The masked defendants pulled J.S. out of his car and threw him inside their car.


*
  This disposition is not an opinion of the full Court and, pursuant to I.O.P. 5.7, does not
constitute binding precedent.


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Castelon-Prado and Gonzalez drove away with J.S. and Ochoa got into J.S.’s car and

followed them. Ochoa abandoned J.S.’s car in an Acme parking lot five minutes away

from the Olive Garden and then got back into the defendants’ car. The defendants drove

J.S. to New Jersey and transferred him into a white van that Castelon-Prado had rented

just days before the kidnapping. Eventually, they took J.S. out of the van and into

Castelon-Prado’s apartment. They held J.S. hostage in this apartment until his eventual

rescue.

       From the moment J.S. was kidnapped, the defendants made numerous ransom

calls to his parents, demanding $500,000 for their son’s release. Based on the ransom

calls, the authorities traced the defendants’ location and set up surveillance outside

Castelon-Prado’s apartment.

       Federal agents conducted a rescue operation of J.S. on the morning of June 16.

The agents stormed Castelon-Prado’s apartment, fatally shot Gonzalez (who was

guarding J.S. with a firearm), and rescued J.S. Ochoa, an adult woman named Sonia

Mabel Cabrera, and Castelon-Prado’s 15-year-old son were also in the apartment. The

agents found Castelon-Prado soon thereafter in a second apartment in the same complex.

The evidence recovered in the apartments included the burner phones used to make the

ransom calls and a GPS tracker. J.S.’s father would later inform the agents that he found

an identical GPS tracker on the bottom of his car.

       The District Court granted the government’s motions to preclude the defendants’

anticipated duress defense prior to trial. Numerous witnesses testified for the government

at trial, including J.S. and his parents. The jury convicted Castelon-Prado and Ochoa


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each of one count of kidnapping and one count of conspiracy to commit kidnapping in

violation of 18 U.S.C. §§ 1201(a)(1), (c), and (g). The District Court sentenced both

Castelon-Prado and Ochoa to 480 months of imprisonment, a term of supervised release

of five years, and a special assessment of $200. The defendants timely appealed.

                                            II.1

        Castelon-Prado and Ochoa raise four issues on appeal. We will consider them in

turn.

                                            A.

        Castelon-Prado and Ochoa argue that the District Court erred in granting the

government’s pretrial motions to preclude their anticipated duress defense.2 To assert a

defense of duress at trial, the defendant must show, by a preponderance of the evidence,

that: (1) he faced an immediate threat of death or serious bodily injury; (2) he held a

well-grounded fear that the threat would be carried out; (3) there was no reasonable

opportunity to escape the threatened harm; and (4) he did not recklessly place himself in

a situation in which he would be forced to engage in criminal conduct. United States v.

Miller, 59 F.3d 417, 422 (3d Cir. 1995).

        Ochoa proffered that he participated in the kidnapping out of fear of the Mexican

cartel that had killed his uncle in Mexico and had threatened him, too. According to

Ochoa, J.S.’s father was a drug dealer who owed a drug debt to the Mexican cartel.


1
  The District Court had jurisdiction under 18 U.S.C. § 3231. We have jurisdiction under
18 U.S.C. § 3742 and 28 U.S.C. § 1291.
2
  We exercise plenary review of the District Court’s duress ruling. United States v.
Paolello, 951 F.2d 537, 539 (3d Cir. 1991).

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Ochoa averred that he went along with the kidnapping because Gonzalez threatened him

and his family if he did not collect the drug debt from J.S.’s father. Ochoa claimed that

he did not learn about the planned kidnapping until the moment before it occurred.

       Castelon-Prado likewise proffered that he was ignorant of the kidnapping until it

occurred and participated in it because Gonzalez threatened him and his family.

Castelon-Prado proffered that after the defendants had dinner at Applebee’s and went

back into their car, Gonzalez pulled out a firearm and held it to Castelon-Prado’s waist

area and forced him to participate in the kidnapping. According to Castelon-Prado,

Gonzalez knew everything about his family and threatened harm to him and his family if

he alerted anyone about the kidnapping.

       It is undisputed that Castelon-Prado left his apartment several times during the

time that J.S., Gonzalez, and Ochoa were there. See Miller, 59 F.3d at 422 (affirming a

motion in limine ruling where “[t]here was ample opportunity for defendant to

communicate her claims of duress to law enforcement officials”). Castelon-Prado argues

that he had no reasonable opportunity to escape because Sonia Cabrera (a friend whom he

treated as a daughter) and his 15-year-old son were within Gonzalez’s reach at all times.

But Castelon-Prado concedes his son was not initially in the apartment with Gonzalez.

And Castelon-Prado also admitted during his proffer that “[i]t [wa]s unclear at what

point” Cabrera arrived at the apartment that Gonzalez occupied. Appendix 80. True,

Castelon-Prado also proffered that Cabrera was at the apartment whenever he left the

apartment. But that still leaves open a window of time in which neither his son nor




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Cabrera was in the apartment, and Castelon-Prado’s proffer was vague about whether he

could have escaped during this time.

       In any event, we need not base our decision upon whether Castelon-Prado

sufficiently proffered facts to show he had no reasonable opportunity to escape.

Even if the District Court’s conclusion on this point was wrong, this error was harmless

beyond a reasonable doubt. See Chapman v. California, 386 U.S. 18, 24 (1967); United

States v. Henry, 282 F.3d 242, 251 (3d Cir. 2002). We agree with the government that

Castelon-Prado’s duress proffer was “entirely contradictory” to the evidence presented at

trial. Gov’t Br. 70; see id. at 62 (“The defendants’ proffers were comically incredible

when evaluated in light of the witness testimony and mountain of physical evidence,

including video surveillance, phone extractions, and cell site analysis.”). The jury heard

overwhelming evidence that, among other things, Castelon-Prado recklessly placed

himself in a position to commit the crimes. Castelon-Prado surveilled the home of J.S.

and his father for several weeks prior to the kidnapping; purchased and activated the GPS

tracker that was installed on J.S.’s father’s car; followed J.S. from his home to Olive

Garden on the day of the kidnapping; and even enjoyed a pre-kidnapping dinner next

door while waiting for J.S. to finish his night shift. All of this occurred before Castelon-

Prado experienced the threats he alleged. Because Castelon-Prado could not have

satisfied the fourth element of the duress defense, we will affirm.

       Ochoa’s duress defense was similarly meritless. Even if Ochoa faced an

immediate threat of harm, he had a reasonable opportunity to escape in the five minutes

he was alone in J.S.’s car. Thus, he failed to satisfy this element of the duress defense.


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                                             B.

       Castelon-Prado and Ochoa next argue that the District Court erred in applying the

vulnerable-victim enhancement to their sentences.3 This enhancement applies when:

“(1) the victim was particularly susceptible or vulnerable to the criminal conduct; (2) the

defendant knew or should have known of this susceptibility or vulnerability; and (3) this

vulnerability or susceptibility facilitated the defendant’s crime in some manner; that is,

there was a nexus between the victim’s vulnerability and the crime’s ultimate success.”

United States v. Zats, 298 F.3d 182, 186 (3d Cir. 2002) (citation omitted).

       The District Court found that J.S. was a vulnerable victim because he was a 17-

year-old teenager who was still traumatized by the kidnapping at the time of trial. The

defendants surveilled J.S. and his father for a long period of time and kidnapped J.S.

while alone at night in a parking lot, for the purpose of extracting money from his

parents. Moreover, the defendants intimidated J.S. into compliance with their firearm.

The District Court’s finding was not clearly erroneous. See United States v. Rocha, 916

F.2d 219, 244–45 (5th Cir. 1990).

                                             C.

       Castelon-Prado contends that the District Court erred in applying the use-of-a-

minor enhancement to his sentence. This enhancement applies “[i]f the defendant used or

attempted to use a person less than eighteen years of age to commit the offense[.]”


3
 We review the “highly fact-specific” application of sentencing enhancements for clear
error. United States v. Perez-Colon, 62 F.4th 805, 812 (3d Cir. 2023). The
preponderance of the evidence standard applies to “all facts relevant to the Guidelines.”
United States v. Laird, 67 F.4th 140, 143 (3d Cir. 2023).

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U.S.S.G. § 3B1.4. The application of this enhancement turns on the “actions and intent

of the defendant” and not the minor. United States v. Fountain, 792 F.3d 310, 321 (3d

Cir. 2015) (quotation marks omitted). Castelon-Prado contends it was Cabrera who told

his son to purchase the GPS tracker. But there is no doubt that Castelon-Prado forwarded

a link of the GPS tracker to Cabrera for purchase, his son purchased the tracker and

shipped it to Castelon-Prado’s address, and Castelon-Prado used it in the commission of

the kidnapping. It is reasonable to infer that Castelon-Prado intended for his son to be

involved in the purchase of the tracker. Moreover, Castelon-Prado’s son was also at the

apartment with J.S. and the other co-conspirators, which further supports the inference

that Castelon-Prado involved his son in his criminal activity. The District Court’s finding

as to this enhancement was not clearly erroneous.

                                            D.

       Finally, Ochoa argues that the District Court erred in refusing to reduce his

sentence on the ground that he played a minor or minimal role in the kidnapping.4 To

determine whether a defendant played a minor role, we consider the “nature of the

defendant’s relationship to other participants, the importance of the defendant’s actions to




4
 “[W]hen the defendant takes issue with the district court’s denial of a reduction for
being a minimal or minor participant which was based primarily on factual
determinations, we review only for clear error.” United States v. Carr, 25 F.3d 1194,
1207 (3d Cir. 1994).

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the success of the venture, and the defendant’s awareness of the nature and scope of the

criminal enterprise.” United States v. Headley, 923 F.2d 1079, 1084 (3d Cir. 1991).

       The evidence at trial showed that Ochoa traveled from California to New Jersey a

month before the kidnapping. Ochoa surveilled the victim’s house prior to the

kidnapping and bought ransom phones, toiletries, and bedding in preparation for the

kidnapping. Ochoa also helped research GPS devices to track J.S.’s father’s car. Ochoa

participated in the events of the day of the kidnapping, including driving J.S.’s car to a

location away from the kidnapping site and holding J.S. hostage in Castelon-Prado’s

apartment. The District Court’s finding that Ochoa did not play a minor role was not

clearly erroneous.

                                             III.

       For the foregoing reasons, we will affirm the District Court’s judgments of

conviction and sentence.




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